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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COlfRT
                                                                , .,
                                         SOUTHERN DISTRICT OF CALIFORNIA                          i'
                                                                                                                1   3: 5S
              UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE                            .:
                                V.                                 (For Offenses Committed On or After Novemb<t9"1987)
       BRY AN DAVID JAMES WERKMEISTER (1)
                                                                      Case Number:          14CR2197-BAS

                                                                   ALEX LANDON
                                                                   Deti:ndant's Attorney
REGlSTRAnON NO.                     42109298
o­
IXI    pleaded guilty to count{s)      ONE (1) OF THE INFORMATION

o was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense{s):
                                                                                                                     Count
Title & Section                      Nature of Offense                                                              Numberis)
8 USC 1324(a)(1)(A)(ii)              TRANSPORTATION OF ILLEGAL ALIEN(S) AND AIDING                                         1
AND (v)(Il)                          AND ABETTING ...   .




     The defendant is sentenced as provided in pages 2 through                 4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act ofl984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is          dismissed on the motion of the United States.

 IZI    Assessment: $100.00



 IZI    No fine         0 Forfeiture pursuant to order filed                                         , included herein.
          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until. all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                     NOVEMBER 17,2014



                                                                     HON.          YNTHlA BASHANT
                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                    14CR2197-BAS
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DEFENDANT:               BRYAN DAVID JAMES WERKMEISTER (1)                                        Judgment - Page 2 of 4
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                                                 IMPRISONNIENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
EIGHTEEN (18) MONTHS




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
lEI   The court makes the following recommendations to the Bureau of Prisons:
      THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN
      SOUTHERN CALIFORNIA.
      THE COURT RECOMMENDS THE DEFENDANT BE PERMITTED TO RESIDE IN RIVERSIDE,
      CALIFORNIA UPON RELEASE FROM CUSTODY.

 o    The defendant is remanded to the custody of the United States Marshal.

 o    The defendant shall surrender to the United States Marshal for this district:
       o     at                                               on
                  ---------------- A.M.                            --~~-----------------------------
       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                ----------~------------                       ---------------------------­
 at _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         14CR2I 97-BAS
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)                                              .
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to ·18 USCsectiOl13583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o                                                                  of
       seq.) as directed by the probation officer, the Bureau Prisons, or any.state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of It qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved pro~ for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it sh./lll be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.                             .
                                         STANDARD CONDITIONS OF SUPERVISION
     I)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)   the defendant shall answer truthfully all inquiries by.the probation officer and follow the instructions ofthe probation officer;
     4)   the defendant shall support his or her dependents and meet other family responsibilities; .
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive. use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view ofthe probation officer;
      II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act !IS an informer or a special agent ofa law enforcement agency without the permission of
           the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confum the defendant's compliance
           with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION


     1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.


     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


     3. Resolve all outstanding warrants within 60 days.


     4. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and. in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence ofa violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


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